USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 1 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 2 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 3 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 4 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 5 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 6 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 7 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 8 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 9 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 10 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 11 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 12 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 13 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 14 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 15 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 16 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 17 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 18 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 19 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 20 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 21 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 22 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 23 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 24 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 25 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 26 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 27 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 28 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 29 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 30 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 31 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 32 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 33 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 34 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 35 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 36 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 37 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 38 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 39 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 40 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 41 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 42 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 43 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 44 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 45 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 46 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 47 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 48 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 49 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 50 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 51 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 52 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 53 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 54 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 55 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 56 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 57 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 58 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 59 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 60 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 61 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 62 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 63 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 64 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 65 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 66 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 67 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 68 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 69 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 70 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 71 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 72 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 73 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 74 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 75 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 76 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 77 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 78 of 79
USDC IN/ND case 3:13-cv-00103-JD-JEM document 1 filed 02/14/13 page 79 of 79
